Case 1:05-cv-01158-.]DT-STA Document 10 Filed 07/06/05 Page 1 of 2 Page|D 1

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE
EASTERN DIVISION

 

WARREN OIL COMPANY, INC.

Plailltiff,

 

v. Case No. 1-05-1 ISS-T An

NUOIL, lNC. and RICKY SOWDER

WV\-/\_/\_/WV\_V\_/

Defendants.

 

ORDER GRANTING ADMISSION PRO HAC VICE

 

lt is hereby ORDERED, upon good cause shown, that Larry L. Coats, Esq, is admitted

pro ha_c yic_e _to pf_;ietice in this district
vpt~

It ls so ORDERED this 5 day of %l; k , 2005.

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A.QFM

UNlTE TATES DISTRICT JUD?}E

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This notice confirms a copy ofthe document docketed as number 10 in
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